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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                         Plaintiff,
                                                    No. 19 Civ. 3377 (LAP)
-against-

ALAN DERSHOWITZ,

                         Defendant.

VIRGINIA L. GIUFFRE,

                         Plaintiff,
                                                    No. 15 Civ. 7433 (LAP)
-against-
                                                             ORDER
GHISLAINE MAXWELL,
                         Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

     In an order dated August 4, 2020 (dkt. no. 1097 in 15 Civ.

7433), the Court invited             any nonparties named in the sealed

materials at issue in Giuffre v. Maxwell, No. 15 Civ. 7433, to

submit    to    the    Court   for   in    camera   review   their   comments   on

Defendant Alan Dershowitz’s request in Giuffre v. Dershowitz, No.

19       Civ.         3377,     that        Plaintiff        Virginia    Giuffre

produce to him confidential discovery materials and sealed filings

from the Maxwell litigation.              In that order, the Court noted that

it would “at the least, inform the parties generally of the nature




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of any comments received.”          (Id. at 2.)1     The Court writes to

provide that update.

     Nonparties were permitted to submit comments on the proposed

disclosure to Mr. Dershowitz no later than August 25, 2020.               (See

dkt. no. 1104 in 15 Civ. 7433.)       The submissions were not numerous

by any measure.     In total, the Court received three submissions

from nonparties--one of those submissions, from nonparty John Doe

who has been actively involved in the Maxwell litigation, was filed

on the public docket (dkt. no. 1105 in 15 Civ. 7433),2 while the

other two submissions were provided directly to the Court by email

for in camera review.

     The comments submitted to the Court on the proposed disclosure

to Mr. Dershowitz        covered three general tracks.           First,    the

comments   noted   the    gravity   of    the   privacy   and   reputational

interests that would be implicated by any disclosure to Mr.

Dershowitz.   For example, one Doe noted the potential impact of

any disclosure on the mental health of alleged victims of Jeffrey

Epstein’s abuse.    Second, and relatedly, the comments argued that

nonparties reasonably relied on the Maxwell protective order when



1 In addition, Intervenors Julie Brown and Miami Herald Media
Company requested that “the nature and quantity of comments
received be reflected on the public docket.” (See dkt. no. 1098
in 15 Civ. 7433.)
2 In the August 4 order, the Court “specifically request[ed]

comment from counsel for John Doe who has appeared in Maxwell.
(See dkt. no. 1097 in 15 Civ. 7433 at 2.)
                                      2
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producing documents or providing testimony in that case and,

accordingly,    expected    that    such    materials     would    remain

confidential.   Third, the comments suggested that Mr. Dershowitz

has not made a showing that certain of the sealed materials are

relevant to a degree sufficient to justify any disclosure.

     The Court will rule on (1) the appropriateness of the proposed

disclosure to Mr. Dershowitz and (2) the scope of any disclosure

to Mr. Dershowitz at a later date.

SO ORDERED.

Dated:    New York, New York
          August 31, 2020

                           __________________________________
                           LORETTA A. PRESKA
                           Senior United States District Judge




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